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                     UNITED STATES BANKRUPTCY COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

IN RE:                                     )
                                           )      CHAPTER 7
CHARLES ANTONIO CROFF                      )
                                           )      CASE NO. 18-69002-JWC
DEBTOR.                                    )


              DEBTOR’S AMENDMENT TO CHAPTER 7 SCHEDULES
                      AND SUMMARY OF SCHEDULES

      COMES NOW Debtors and amend the Chapter 7 Schedules to provide the following:

      1.     Debtor amends Form 108: Statement of Intention.

      2.     Debtor amends Summary of Schedules to reflect the changes listed above.


        WHEREFORE, Debtor prays that this Amendment be allowed, and for such other and
further relief as the Court deems appropriate and just.

      Respectfully submitted,
      This 23rd day of June 2020

                                               /s/ Shannon C. Worthy
                                                   Shannon C. Worthy
                                                  Attorney for Debtor
                                                  Georgia Bar No.: 733895
                                                  Stanton and Worthy, LLC
                                                   547 Ponce de Leon Ave., NE
                                                   Suite 150
                                                   Atlanta, GA 30308
                                                   404-800-6415 Phone
                                                   Shannon.worthy@stantonandworthy.com
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 Fill in this information to identify your case:

 Debtor 1                  Charles Antonio Croff
                           First Name                       Middle Name               Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name               Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF GEORGIA

 Case number            18-69002
 (if known)
                                                                                                                           Check if this is an
                                                                                                                            amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                               12/15


If you are an individual filing under chapter 7, you must fill out this form if:
 creditors have claims secured by your property, or
 you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?


    Creditor's         Ally Financial                                      Surrender the property.                      No
    name:                                                                  Retain the property and redeem it.
                                                                           Retain the property and enter into a         Yes
    Description of        2015 Chevrolet impala 75000                        Reaffirmation Agreement.
    property              miles                                            Retain the property and [explain]:
    securing debt:



    Creditor's         Grace Management Services LLC                       Surrender the property.                      No
    name:                                                                  Retain the property and redeem it.
                                                                           Retain the property and enter into a         Yes
    Description of        4845 Price Street Forest Park,                    Reaffirmation Agreement.
    property              GA 30297 Clayton County                          Retain the property and [explain]:
    securing debt:



    Creditor's         Southwest Airlines Efc                              Surrender the property.                      No
    name:                                                                  Retain the property and redeem it.
                                                                           Retain the property and enter into a         Yes
    Description of        2016 Hyundai Sante Fe 400000                      Reaffirmation Agreement.
    property              miles                                            Retain the property and [explain]:

Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                             page 1

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 Debtor 1      Charles Antonio Croff                                                                 Case number (if known)    18-69002

     securing debt:



     Creditor's    Wells Fargo Hm Mortgag                                 Surrender the property.                                 No
     name:                                                                Retain the property and redeem it.
                                                                          Retain the property and enter into a                    Yes
     Description of     4845 Price Street Forest Park,                     Reaffirmation Agreement.
     property           GA 30297 Clayton County                           Retain the property and [explain]:
     securing debt:

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                             Will the lease be assumed?

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Charles Antonio Croff                                                    X
       Charles Antonio Croff                                                            Signature of Debtor 2
       Signature of Debtor 1

       Date        June 23, 2020                                                    Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                      page 2

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 Fill in this information to identify your case:

 Debtor 1                   Charles Antonio Croff
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  NORTHERN DISTRICT OF GEORGIA

 Case number           18-69002
 (if known)
                                                                                                                                                                     Check if this is an
                                                                                                                                                                      amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................       $             137,421.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................            $              99,385.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................       $             236,806.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                        $             163,059.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                              $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                                $              32,477.00


                                                                                                                                     Your total liabilities $                   195,536.00


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................                 $                3,246.39

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                             $                3,246.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
 7.     What kind of debt do you have?

               Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

         Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                                                                 page 1 of 2
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 Debtor 1      Charles Antonio Croff                                                      Case number (if known) 18-69002

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $            4,922.04


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                  $               0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                         $               0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)               $               0.00

       9d. Student loans. (Copy line 6f.)                                                                $               0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                    page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                    Charles Antonio Croff
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF GEORGIA

 Case number              18-69002
 (if known)
                                                                                                                                     Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


               No

         Yes. Name of person                                                                                   Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Charles Antonio Croff                                                 X
              Charles Antonio Croff                                                     Signature of Debtor 2
              Signature of Debtor 1

              Date       June 23, 2020                                                  Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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                      UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

IN RE:                                       )
                                             )       CHAPTER 7
CHARLES ANTONIO CROFF                        )
                                             )       CASE NO. 18-69002-JWC
DEBTOR.                                      )


                   DECLARATION UNDER PENALTY OF PERJURY

           I declare under penalty of perjury that the foregoing is true and correct to the best of
my knowledge, information and belief.




                                     Done, this 23rd day of June 2020



                                       /s/ Charles A. Croff
                                     Charles A. Croff




Penalty for making a false statement or concealing property: Fine of up to $500,000 or
imprisonment for up to 5 years or both. 18 U.S.C. §152 and §3571.
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                       UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:                                       )
                                             )       CHAPTER 7
CHARLES ANTONIO CROFF                        )
                                             )       CASE NO. 18-69002-JWC
DEBTOR.                                      )

                                 CERTIFICATE OF SERVICE

        I hereby certify, under penalty of perjury, that I am more than eighteen years of age and
that on this day I served a copy of the foregoing Amended Form 108: Statement of Intention,
and Summary of Schedules upon the following by depositing a copy of the same in U.S. Mail
with sufficient postage affixed thereon to ensure delivery:

Charles C. Croff (via hand delivery)
4845 Price Street
Forest Park, GA 30297

       I further certify that, by agreement of parties, S. Gregory Hays, Chapter 7 Trustee, was
served via ECF electronic mail/noticing system.


Done, this 23rd day of June 2020

                                                 /s/ Shannon C. Worthy
                                                     Shannon C. Worthy
                                                    Attorney for Debtor
                                                    Georgia Bar No.: 733895
                                                    Stanton and Worthy, LLC
                                                    547 Ponce de Leon Ave., NE
                                                    Suite 150
                                                    Atlanta, GA 30308
                                                    404-800-6415 Phone
                                                    Shannon.worthy@stantonandworthy.com
